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                           UNITED STATES DISTRICT COURT
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 10               FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11                                     )
      XOCHITL HERNANDEZ,                )   CIVIL ACTION NO. 5:16-00620-JGB-KK
 12   CESAR MATIAS, for themselves      )
      and on behalf of a class of       )   ORDER ON JOINT STIPULATION
 13   similarly-situated individuals,   )   REGARDING THE COURT’S ORDER
                                        )   RE: APPOINTMENT OF SPECIAL
 14         Plaintiffs-Petitioners,     )   MASTER, ECF No. 182
                                        )
 15   v.                                )
                                        )   Honorable Jesus G. Bernal
 16   JEFFERSON SESSIONS, U.S.          )
      Attorney General, et al.,         )
 17                                     )
            Defendants-Respondents.     )
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  1        The Court has reviewed the parties’ “Joint Stipulation regarding the Court’s
  2 Order Re: Appointment of Special Master, ECF No. 182,” and for good cause
  3 shown, the Court amends Paragraph 6 of its May 23, Order Re: Appointment of
  4 Special Master to allow Defendants twenty-one (21) days for the payment of the
  5 Special Master’s invoices as follows: “Defendants shall initially bear the costs of the
  6 Special Master. Upon receipt of a proper invoice from the Special Master’s office,
  7 Defendants shall pay the Special Master no later than twenty-one (21) calendar
  8 days from the date of receipt of the invoice. The Special Master will consider
  9 whether cost shifting is appropriate after all proceedings before the Special Master
 10 have been completed.”
 11
 12         IT IS SO ORDERED.

 13         DATED: -XQH          __________________________________
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 14                                         HONORABLE
                                            HONOORABLE JESUS G. BERNAL
                                            UNITED
                                            UNITEED STATES DISTRICT JUDGE
                                                                      JUD
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